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                        Exhibit 1
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                          UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

                                                     )
   RAMCHANDRA ADHIKARI, et al.,                      )
                                                     )         Civil Action No. 4:09-CV-01237
                             Plaintiffs,             )
                                                     )                Judge Keith P. Ellison
                       v.                            )
                                                     )
      DAOUD & PARTNERS, et al.,                      )
                                                     )
                            Defendants.              )
                                                     )


 SUPPLEMENTAL DECLARATION OF AGNIESZKA M. FRYSZMAN IN SUPPORT
 OF PLAINTIFFS’ MOTION FOR EXPENSES, INCLUDING ATTORNEYS’ FEES, AS
       THE PREVAILING PARTY PURSUANT TO FED. R. CIV. P. 11(C)(2)

       I, Agnieszka M. Fryszman, hereby declare as follows:

       1.      I am a partner in the Washington, D.C. office of Cohen Milstein Sellers & Toll,

PLLC (“Cohen Milstein”), and counsel in the above-captioned case. The statements set forth in

this Declaration are based on first-hand knowledge, about which I could and would testify

competently in open Court if called upon to do so, and on records contemporaneously generated

and kept by my Firm in the ordinary course of its law practice. This Declaration is submitted in

support of Plaintiffs’ Reply in Support of Plaintiffs’ Motion for Expenses, Including Attorneys’

Fees, as the Prevailing Party Pursuant to Fed. R. Civ. P. 11(c)(2).

       2.      I am lead counsel on this case and the head of the International Human Rights and

Pro Bono Practice at Cohen Milstein Sellers & Toll, where I have worked since 1998. The

customary billing practice for attorneys, paralegals, and law clerks at Cohen Milstein Sellers &

Toll is to bill time in 0.25 hour increments. This is the standard billing practice employed by
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attorneys at the firm for paying clients. Where courts or clients require other time increments,

those other increments are of course utilized in those cases.

       3.      With Plaintiffs’ Motion for Expenses, Including Attorneys’ Fees, as the Prevailing

Party Pursuant to Fed. R. Civ. P. 11(c)(2), I submitted a declaration (Ex. 1) that was

accompanied by a chart providing billing details, designated as Exhibit A. See Dkt. 748-1.

Exhibit A reproduced contemporaneous time records from an electronic system in chart form.

These entries were contemporaneously recorded. The entries were reproduced as Exhibit A in

order to provide clear and legible explanations of the time billed.

       4.      Although many entries in Exhibit A to Dkt. 748-1 reflect whole-hour increments

for billed time, this is a result of coincidence and chance. The entries were billed in 0.25

increments consistent with the firm’s customary billing practice, as described above and just

happened to result in certain tasks taking whole-hour increments of time.

       5.      Depositions of Plaintiffs were taken in this case on February 27-28, 2013, March

1-2, 2013, and March 5-7, 2013. As lead counsel and the persona primarily responsible for this

case, my presence at those depositions was critical. I therefore was unable to work on the Rule

11 response on any of those dates, which then required me to work long days in the eight days

immediately preceding Plaintiffs’ filing of the Rule 11 opposition and following the conclusion

of the depositions.

       6.      Attached to this Declaration as Exhibit A is a copy of an email that I sent to

Geoffrey Harrison, counsel for KBR, on April 3, 2015. This email is a true and accurate copy of

the email that I sent to Mr. Harrison.

       7.      Attached to this Declaration as Exhibit B is a copy of an email that an attorney in

my practice group, Thomas Saunders, sent to M. Mengis and B. Donley on February 14, 2013.




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                       Exhibit A
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From:                               Fryszman, Agnieszka
Sent:                               Friday, April 03, 2015 2:04 PM
To:                                 Ouoba, Alysson
Subject:                            FW: KBR A - Proposed Final Judgment
Attachments:                        1985069_1.doc


Left him a message.

From: Fryszman, Agnieszka
Sent: Friday, April 03, 2015 11:31 AM
To: 'Geoffrey L. Harrison'; Paul Hoffman
Subject: RE: KBR A - Proposed Final Judgment

Geoffrey: I propose we submit the attached. The only edit I made to your April 2 draft is to remove the references
regarding costs (in track changes – hope it is clear). That gives us time to communicate with our clients regarding your
offer, gives you time to prepare and file a bill of costs (the usual procedure) and permits plaintiffs to file a motion for
costs related to the Rule 11 motion, which our research confirms is still timely under Fifth Circuit precedent. I think the
Court is unlikely to award costs without seeing the submission from KBR and hearing from Plaintiffs in opposition (and of
course, the same goes for the Rule 11 costs). Removing the reference to costs in the proposed order does not prejudice
anyone from seeking costs in the future, as permitted by the rules.

I am back in the United States and happy to discuss at your convenience. However, my mother is coming into town this
afternoon, and I need to leave a bit early to pick her up at the train station, so earlier in the day is a bit better for me.

Best,

Agnieszka


From: Geoffrey L. Harrison [mailto:gharrison@susmangodfrey.com]
Sent: Thursday, April 02, 2015 9:53 AM
To: Paul Hoffman; Fryszman, Agnieszka; Ouoba, Alysson
Subject: KBR A - Proposed Final Judgment

Per my and Paul’s discussion yesterday and reflective of Alysson’s draft, please review the attached revised form of final
judgment and advise whether the parties together may submit this version to the Court. Thanks.



Geoffrey L. Harrison
Susman Godfrey L.L.P.
(713) 653-7807 – Work
(713) 498-2425 – Cell
gharrison@susmangodfrey.com<mailto:gharrison@susmangodfrey.com>




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                       Exhibit B
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From:                              Saunders, Thomas
Sent:                              Thursday, February 14, 2013 2:35 PM
To:                                'mmengis@bakerlaw.com' (mmengis@bakerlaw.com); 'bdonley@bakerlaw.com'
                                   (bdonley@bakerlaw.com)
Cc:                                fhochmuth@bakerlaw.com; Fryszman, Agnieszka
Subject:                           3 Issues for Consultation


Dear Mr. Mengis and Mr. Donley,

Yesterday, I spoke with your colleague Farrell Hochmuth regarding the issues outlined below. She said she would confer
with you and get back to me today. Farrell called me today as promised but, rather than provide responses, she informed
me that you requested I put my questions in writing. To insure that my accommodation of your request does not result in
another day of delay, would you please respond by lunchtime tomorrow?

Briefing on the Rule 11 Motion
Plaintiffs seek to postpone briefing on KBR’s recent motion for Rule 11 sanctions in light of the substantial other activity
in this case right now, including upcoming depositions, expedited briefing on a motion and an upcoming court
conference. Plaintiffs seek to postpone briefing until after the Court rules on the motion for summary judgment. Does
KBR oppose Plaintiffs’ request.

Response to Outstanding Interrogatories, including Chittij Limbu’s Interrogatories
KBR has refused to answer interrogatories sent by Plaintiffs on the grounds that, inter alia, Plaintiffs are engaged in a
fishing expedition. We believe we are at an impasse. If we are incorrect and you are willing to respond to interrogatories,
please let us know.

Disciplinary Records
Plaintiffs seek to narrow a category of information sought through discovery and request KBR’s cooperation. Plaintiffs’
moved to compel records of disciplinary action taken or contemplated to be taken against individuals who reported,
complained about, or attempted to address the treatment, pay, or conditions of third-country national workers. At the
September 2012 hearing, the Court asked us to narrow the scope of the documents sought to make the discovery request
less burdensome for KBR. Plaintiffs understand the records are now electronically searchable. Plaintiffs’ propose to
narrow the scope of documents sought by imposing a date range from January 2003 to January 2007, seeking production
only of those documents that involve work locations and camps in Iraq, and seeking production only of those documents
involving third-country nationals by using the Boolean search below. Is this agreeable to you?

(Nepa* OR Napal* OR TCN* OR SCW* OR (sub* NEAR3 worker*) OR (third NEAR3 national*) OR (3d NEAR3
national*) OR (3rd NEAR3 national*) OR India* OR LH OR (local NEAR3 hire*) or bangladesh* or (southeast near2
asia*))


Sincerely,
Thomas


                      Thomas N. Saunders
                      International Human Rights Fellow

                      CO HEN MILST EIN SELLERS & TOLL PLLC
                      1100 New York Avenue, NW | Suite 500 West
                      Washington, DC 20005
                      t: 202.408.3694 | f: 202.408.4699
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                       Exhibit C
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